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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF LOUISIANA

      IN RE: OIL SPILL by the OIL RIG              §                      MDL No. 2179
      “DEEPWATER HORIZON” in the                   §
      GULF OF MEXICO,                              §                      SECTION: J
      on APRIL 20, 2010                            §
                                                   §                   JUDGE BARBIER
              Applies to: All Cases                §
                          2:10-cv-02771            §               MAG. JUDGE SHUSHAN
                                                   §
                                                   §

                                                   ORDER

               Considering Defendant Halliburton Energy Services, Inc.'s Ex Parte Motion for Leave to

       File a Reply in Support of HESI's Request for Clarification of Order Disqualifying Viator,

       Sabins, and CSI (Rec. Doc. 5047);

               IT IS ORDERED that the Motion is GRANTED and that Defendant Halliburton Energy

       Services, Inc.'s Reply in Support of HESI's Request for Clarification of Order Disqualifying

       Viator, Sabins, and CSI (Rec. Doc. 5047); is hereby granted, and that Halliburton Energy

       Services, Inc.'s Reply in Support of HESI's Request for Clarification will hereby be filed into the

       record of this matter.

               New Orleans, Louisiana, this ______ day of January, 2012.



                                                    _______________________________________
                                                    UNITED STATES JUDGE

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